          Case 1:19-cv-01136-APM Document 10 Filed 04/22/19 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 DONALD J. TRUMP; THE TRUMP
 ORGANIZATION, INC.; TRUMP
 ORGANIZATION LLC; THE TRUMP
 CORPORATION; DJT HOLDINGS LLC;
 THE DONALD J. TRUMP REVOCABLE                            Civil Action No. 1:19-cv-01136-APM
 TRUST; and TRUMP OLD POST OFFICE
 LLC,
                             Plaintiffs,

 v.

 ELIJAH E. CUMMINGS, in his official capacity
 as Chairman of the House Committee on
 Oversight and Reform; PETER KENNY, in his
 official capacity as Chief Investigative Counsel
 of the House Committee on Oversight and
 Reform; and MAZARS USA LLP,

                                       Defendants.

 EMERGENCY MOTION TO SHORTEN DEFENDANTS’ TIME TO RESPOND TO
   PLAINTIFFS’ APPLICATION FOR A TEMPORARY RESTRAINING ORDER
        Per Federal Rules of Civil Procedure 6(c)(1)(C) and 83(b), Plaintiffs move this Court to shorten

the parties’ deadlines for briefing Plaintiffs’ application for a TRO. Plaintiffs need this Court to rule

on their application by noon on Monday, April 29, 2019—Mazar’s deadline for complying with

Chairman Cummings’ subpoena. If the Court does not rule by then, Mazars might comply with the

subpoena, which would irretrievably destroy Plaintiffs’ right to keep their information confidential

and interfere with this Court’s ability to review Plaintiff’s important constitutional claims. Plaintiffs

thus ask this Court to enter an order requiring Defendants to submit their response to the TRO

application on or before Wednesday, April 24, 2019, and permitting Plaintiffs to submit their reply in

support of the TRO application on or before Thursday, April 25, 2019.
         Case 1:19-cv-01136-APM Document 10 Filed 04/22/19 Page 2 of 2



                                                    Respectfully submitted,

Dated: April 22, 2019                                   s/ William S. Consovoy    T

Stefan C. Passantino (D.C. Bar #480037)             William S. Consovoy (D.C. Bar #493423)
MICHAEL BEST & FRIEDRICH LLP                        Cameron T. Norris
1000 Maine Ave. SW, Ste. 400                        CONSOVOY MCCARTHY PARK PLLC
Washington, D.C. 20024                              3033 Wilson Blvd., Ste. 700
(202) 747-9582                                      Arlington, VA 22201
spassantino@michaelbest.com                         (703) 243-9423
                                                    will@consovoymccarthy.com
Counsel for The Trump Organization, Inc., Trump     cam@consovoymccarthy.com
Organization LLC, The Trump Corporation, DJT
Holdings LLC, Trump Old Post Office LLC, and        Patrick Strawbridge
The Donald J. Trump Revocable Trust                 CONSOVOY MCCARTHY PARK PLLC
                                                    Ten Post Office Square
                                                    8th Floor South PMB #706
                                                    Boston, MA 02109
                                                    patrick@consovoymccarthy.com

                                                    Counsel for President Donald J. Trump




                                                  -1-
        Case 1:19-cv-01136-APM Document 10-1 Filed 04/22/19 Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 DONALD J. TRUMP; THE TRUMP
 ORGANIZATION, INC.; TRUMP
 ORGANIZATION LLC; THE TRUMP
 CORPORATION; DJT HOLDINGS LLC;
 THE DONALD J. TRUMP REVOCABLE                          Civil Action No. 1:19-cv-01136-APM
 TRUST; and TRUMP OLD POST OFFICE
 LLC,
                             Plaintiffs,

 v.

 ELIJAH E. CUMMINGS, in his official capacity
 as Chairman of the House Committee on
 Oversight and Reform; PETER KENNY, in his
 official capacity as Chief Investigative Counsel
 of the House Committee on Oversight and
 Reform; and MAZARS USA LLP,

                                     Defendants.

         [PROPOSED] ORDER ON PLAINTIFFS’ EMERGENCY MOTION TO
             SHORTEN DEFENDANTS’ TIME TO RESPOND TO THE
            APPLICATION FOR A TEMPORARY RESTRAINING ORDER
       After considering Plaintiffs’ motion to shorten Defendants’ time to respond to the application

for a TRO, it is hereby ordered that the motion is GRANTED. Defendants shall file their responses

to the application on or before Wednesday, April 24, 2019, and Plaintiffs can file their reply on or

before Thursday, April 25, 2019.




Dated: April _____, 2019                                     ______________________________
                                                             United States District Judge
